                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                  )
                                          )                  Case No. 3:21-cr-00264-1
v.                                        )
                                          )                  CHIEF JUDGE CRENSHAW
BRIAN KELSEY                              )
__________________________________________)

   BRIAN KELSEY’S OPPOSITION TO GOVERNMENT’S MOTION FOR ORDER
           FINDING WAIVER OF ATTORNEY-CLIENT PRIVILEGE

       Brian Kelsey, through counsel, respectfully requests that this Court deny the Government’s

Motion for Order Finding Waiver of Attorney-Client Privilege (“Motion”) (ECF No. 108).

       “It is not hyperbole to suggest that the attorney-client privilege is a necessary foundation

for the adversarial system of justice.” In re Lott, 424 F.3d 446, 450 (6th Cir. 2005). Accordingly,

it cannot and should not be deemed waived lightly. Even where waiver is found to be appropriate,

“[i]mplied waivers are consistently construed narrowly. Courts ‘must impose a waiver no broader

than needed to ensure the fairness of the proceedings before it.’” Id. at 453 (quoting Bittaker v.

Woodford, 331 F. 3d 715 (9th Cir. 2003)).

       The Government’s Motion must fail for three reasons. First, Mr. Kelsey has not alleged

ineffective assistance of counsel, and thus has not put privileged communications at issue in these

proceedings. Second, privileged communications are not necessary for the Government to litigate

Mr. Kelsey’s Motion to Withdraw Plea (ECF No. 93) fully and fairly. Third, and in the alternative,

even if Mr. Kelsey is deemed to have put communications with counsel at issue in this matter, the

Government’s proposed remedy is overly broad as any implied waiver determinations can and

should be resolved on a question-by-question basis at the hearing on the merits.




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    I.       Mr. Kelsey has Not Alleged Ineffective Assistance of Counsel.

         The Government correctly notes that “[t]he [attorney-client] privilege may be implicitly

waived by claiming ineffective assistance of counsel or by otherwise raising issues with counsel’s

performance.” Motion at 1 (quoting Lott, 424 F.3d at 452-453).

         Mr. Kelsey has not claimed ineffective assistance of counsel. He has not claimed he relied

on inaccurate representations or statements by counsel. Nor has he claimed any other improper

conduct by his counsel. To the contrary, the counsel who advised Mr. Kelsey—Paul Bruno, David

Rivera, and Jerry Martin—continue to represent Mr. Kelsey, and should his motion to withdraw

his plea be denied, they will continue to represent him at any future sentencing.

         To get around this obvious flaw, the Government contends that several claims “implicate”

privileged conversations. But none of these claims rely on privileged communications.

         Should the Government’s motion be granted, the ability of attorneys Bruno, Rivera, and

Martin to represent Mr. Kelsey would be significantly diminished.

         Whether the facts that Mr. Kelsey pled guilty to constitute a crime is a question of law.

What Mr. Kelsey’s attorneys told him prior to entering the plea agreement is immaterial; it either

is or it is not.

         That Mr. Kelsey has continued to maintain his innocence both before and after the

indictment plea negotiations is evidenced by external statements, including those to the press and

Government, including in statements the Government attached to its Opposition to Mr. Kelsey’s

Motion to Withdraw Plea. His privileged statements to his attorneys are immaterial to assessing

this claim. Moreover, to the extent that the Government is seeking to pierce the privilege to

confirm that Mr. Kelsey has asserted his innocence in private conversations with his attorneys, that

avenue is foreclosed by the Sixth Circuit opinion in Lott, which firmly rejected assertions that post-



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conviction claims of actual innocence waive the privilege. See, e.g., Lott, 424 F.3d. at 447 (“There

is no case authority holding that a claim of actual innocence ‘waives’ the attorney client

privilege.”).

        That Mr. Kelsey entered the agreement with an unsure heart and confused mind is a matter

of Mr. Kelsey’s subjective understanding and mental state. It is not dependent on what Mr.

Kelsey’s attorneys did or did not tell him. Napper v. United States is instructive on this point.

Case No. 1:16-cv-01023, 2021 WL 2555131 (W.D. Tenn. June 22, 2021). In Napper, Petitioner

filed a habeas petition asserting, in part, ineffective assistance of counsel, alleging that he did not

have proper knowledge about his career offender status and its importance. Id. at *5. The court

declined to breach the privilege, noting in part that “the inmate does not challenge [his counsel’s]

conduct and he does not rely on his communications with [counsel] to support his claims,” that

“[i]t also does not appear that Petitioner ‘will be forced’ to rely on his communications with

[counsel] ‘in order to prevail,’” and that “Respondent has at its disposal other evidence relevant to

[Petitioner’s] knowledge of his sentencing exposure.” Id. at 5-6 (citations omitted).

        Similarly, in United States v. Anthony, the court rejected the Government’s argument that

petitioner’s “communications with her attorney at the time of her guilty plea may reveal

information about her contemporaneous state of mind and psychological conditions,” finding that

“even accepting the government’s premise, the Court is not persuaded that these privileged

communications are likely to contain evidence ‘vital’ to the government’s position.” Case No. 16-

cr-00150, 2023 WL 2716581, *3 (N.D. Cal. Mar. 29, 2023). Anthony further advised “[p]rivileged

communications that have not been put at issue do not become discoverable merely because they

may be relevant” and noted that “[t]he United States has available to it multiple other sources of




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information regarding [petitioner’s] psychological condition at the time of her plea and the impact

of that condition on her ability to make reasoned decisions . . . .” Id.

          The same is true here. Mr. Kelsey has not challenged his counsel’s conduct, does not rely

on communications with counsel to prevail on his Motion to Withdraw Plea, and, as more fully set

forth below, his communications with counsel are not necessary to the Government’s opposition.

   II.       Privileged Communications are Not Necessary for the Government to
             Fully and Fairly Litigate Mr. Kelsey’s Motion to Withdraw His Plea.

          Preserving the privilege in this case would not place the Government at any “great

disadvantage.” See Napper, at *6 (“[I]nsofar as Lott contemplates some role, even if not clearly

defined, for a court’s consideration of fairness, preserving the privilege in the present case would

not place the Government at a great disadvantage.”). To the contrary, the Government managed

to file a 25-page opposition to Mr. Kelsey’s Motion to Withdraw Plea (ECF No. 98), with eight

attached exhibits, without raising concerns about being hamstrung by privilege. Mr. Kelsey’s

privileged conversations are not central to the Government’s arguments in opposition to Mr.

Kelsey’s Motion to Withdraw Plea, and preserving the privilege would not place the Government

at any “great disadvantage” in litigating this motion. Quite the contrary, the Government will have

the chance to cross-examine Mr. Kelsey himself on the facts relevant to his motion.

   III.      The Government’s Proposed Remedy is Overly Broad and Any Implied
             Waiver Issues are More Properly Resolved Question-by-Question at
             the Hearing on this Matter.

          The Court should wait until all evidence is presented by Mr. Kelsey before determining

whether such an intrusion into attorney client communications is even warranted. As stated above,

Mr. Kelsey is not claiming any ineffective assistance of counsel or putting at issue any of his

protected communications with his counsel, thus, any determination of waiver is unwarranted, and

at a minimum premature until such time as his evidence is heard.


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       Even assuming arguendo that Mr. Kelsey has put privileged conversations at issue and that

such conversations are necessary for the Government to adequately litigate Mr. Kelsey’s Motion

to Withdraw Plea (he has not, and it is not), the Government’s Motion seeks overly broad relief.

       As described above, the Sixth Circuit has cautioned that “[i]mplied waivers are consistently

construed narrowly” and must be “‘no broader than needed to ensure the fairness of the

proceedings.’” Lott. at 453 (quoting Bittaker v. Woodford, 331 F. 3d 715 (9th Cir. 2003)).       In

United States v. York, the court determined that what is “necessary to litigate” a claim should be

determined on a question-by-question basis: “Ultimately, the determination of whether the

exposure of various attorney-client protected conversations . . . are ‘necessary to litigate’

Defendant’s assertion that [his former counsel] misrepresented the plea agreement . . . will have

to be resolved on a question-by-question basis during the hearing.” Case No. 02-20038, 2008 WL

4298386, *2 (E.D. Mich. Sept. 18, 2008).

       Any implied waiver in this matter should be treated similarly and resolved on a question-

by-question basis at the hearing, rather than on a blanket basis in advance.

       The need to properly limit any implied waiver is particularly acute in this case. The

attorneys who the Government seeks to question continue to represent Mr. Kelsey. Both they and

Mr. Kelsey have a need to ensure that they can continue communicating fully and frankly with one

another with respect to their representation. The Government, by its motion, must not be allowed

to create any conflict that damages that representation.




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                                      CONCLUSION

       For the foregoing reasons, Mr. Brian Kelsey respectfully requests that the Government’s

Motion be denied.



      Dated: May 8, 2023                          Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing Opposition to Government’s
Motion for Order Finding Waiver of Attorney-Client Privilege has been electronically delivered
via the Court’s electronic filing system on this the 8th day of May 2023, to the following:

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